Case: 2:17-cv-00825-ALM-EPD Doc #: 51 Filed: 06/04/18 Page: 1 of 3 PAGEID #: 608



                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



CARMEN STEPHENSON & AKILAH            :   Case No. 2:16-cv-01029
WRIGHT, ET AL.
                                      :
                                      :   Judge Algenon Marbley
                   Plaintiffs,
                                      :
                                      :   Magistrate Judge Elizabeth Preston Deavers
v.
                                      :
                                      :   DISMISSAL WITH PREJUDICE
FOOD CONCEPTS
                                      :
INTERNATIONAL, LP, et al.,
                                      :
                                      :
                  Defendants.
                                      :

______________________________________________________________________________


TIFFANY CONN,                         :   Case No. 2:17-CV-00824
                                      :
                   Plaintiff,         :   Judge Algenon Marbley
                                      :
v.                                    :   Magistrate Judge Elizabeth Preston Deavers
                                      :
FOOD CONCEPTS                         :   DISMISSAL WITH PREJUDICE
INTERNATIONAL, LP, et al.,
                                      :
                                      :
                  Defendants.
                                      :
Case: 2:17-cv-00825-ALM-EPD Doc #: 51 Filed: 06/04/18 Page: 2 of 3 PAGEID #: 609



                                    :
______________________________________________________________________________


JADE LICHTENBERGER,                 :   Case No. 2:17-CV-00825
                                    :
                   Plaintiff,       :   Judge Algenon Marbley
                                    :
v.                                  :   Magistrate Judge Elizabeth Preston Deavers
                                    :
FOOD CONCEPTS                       :   DISMISSAL WITH PREJUDICE
INTERNATIONAL, LP, et al.,
                                    :
                                    :
                  Defendants.
                                    :
                                    :
______________________________________________________________________________




BRITTANY STONE,                     :   Case No. 2:17-CV-00824
                                    :
                   Plaintiff,       :   Judge Algenon Marbley
                                    :
v.                                  :   Magistrate Judge Elizabeth Preston Deavers
                                    :
FOOD CONCEPTS                       :   DISMISSAL WITH PREJUDICE
INTERNATIONAL, LP, et al.,
                                    :
                                    :
                  Defendants.
                                    :
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                              DISMISSAL WITH PREJUDICE



Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiffs Carmen Stephenson, Akilah

Wright, Tiffany Conn, Jade Lichtenberger and Brittany Stone, by their undersigned counsel,

hereby dismiss their cases with prejudice. The Court reserves jurisdiction to the extent necessary

to enforce the parties’ settlement agreement.

                                            Respectfully submitted ,

                                                /s/ Wesley T. Fortune___________
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                                                Attorney for Plaintiffs

                                CERTIFICATE OF SERVICE

I hereby certify that on this 4th day of June, 2018, I e-mailed the above document to Defendants’
counsel identified herein:
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                                                      /s/ Wesley T. Fortune
                                                      Wesley T. Fortune
